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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UGI SUNBURY LLC,                               No. 3:16-CV-00794

            Plaintiff,                         (Chief Judge Brann)

      v.

A PERMANENT EASEMENT FOR
0.4308. et al.,

           Defendants.

                                     ORDER

     AND NOW, this 4th day of November 2021, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    UGI Sunbury LLC’s motion in limine to exclude the testimony of the

           Defendant’s expert witness, William F. Rothman (Doc. 142), is

           DENIED.

     2.    The Defendants’ motion in limine to exclude the testimony of UGI’s

           expert witness, Matthew S. Krauser (Doc. 144), is DENIED.

     3.    The testimony and expert reports of Mr. Rothman and Mr. Krauser are

           admitted into evidence.

                                         BY THE COURT:


                                         s/ Matthew W. Brann
                                         Matthew W. Brann
                                         Chief United States District Judge
